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                               UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF TENNESSEE

KATHY ELLZEY, LYNDA MATUS,                     :
SANDRA AREVALO, TODD GLASS,                    :
DENISE BUBEL, VANESSA                          :
PARTRIDGE, LANETTA PAGE,                       : Civil Action No.: __________
ALAN WINGARD, ROBERT BURNS,                    :
JOHN SANCHEZ, BETTY FOWLER,                    : CLASS ACTION COMPLAINT
KAREN MENKE, CAROLYN PIERCE,                   :
TARA JUNE MOORE, JUAN                          : JURY TRIAL DEMANDED
MENDOZA, and BRANDON                           :
MITCHEM, individually and on behalf            :
of all others similarly situated,              :
                                               :
       Plaintiff,                              :

v.

COMMUNITY HEALTH SYSTEMS,
INC. and COMMUNITY HEALTH
SYSTEMS PROFESSIONAL
SERVICES CORPORATION,

       Defendants.


                                   CLASS ACTION COMPLAINT

           Plaintiffs (identified below), by and through their undersigned counsel, individually and

on behalf of all others similarly situated, file this Complaint against Community Health Systems,

Inc. (“CHS”) and Community Health Systems Professional Services Corporation (“CHSPSC”)

(collectively “CHS” or “Defendants”). In support thereof, based upon personal knowledge with

respect to Plaintiffs and otherwise on information and belief derived from, among other things,

investigation by counsel and review of public documents, Plaintiffs state and allege as follows:

                                     NATURE OF THE ACTION

           1.        Through a network of affiliated physicians, hospitals and clinics, Defendants

provide healthcare services to millions of individuals throughout the United States. Defendants

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maintain a centralized computer-based repository of confidential patient data for all of the

patients who treat with and/or are referred to their vast healthcare network.

           2.        Inherent in a healthcare provider’s relationship with a patient is the promise by

the healthcare provider that all information divulged by the patient, as well as all information

created by virtue of the patient’s diagnosis and treatment, will, at all times, remain confidential.

This fundamental principal is embodied in the Health Insurance Portability and Accountability

Act of 1996 (“HIPAA”), 29 U.S.C. §§ 1181 et seq., and is a core component of the healthcare

provider/patient relationship. Indeed, it is difficult to imagine any patient who would agree to

accept treatment from a healthcare provider which did not promise to keep such information

confidential.

           3.        The duty undertaken by healthcare providers to comply with HIPAA’s

requirements, and the concomitant promise to act reasonably to safeguard confidential patient

data, is both an essential term of the contract for the provision of healthcare services and an

industry standard of conduct.

           4.        This case is about Defendants’ breach of that contract and violation of that

industry standard of conduct.

           5.        Plaintiffs, current and former patients of Defendants’ healthcare network, bring

this class action on behalf of themselves and all other individuals whose confidential patient

data, including personally identifiable information such as names, addresses, birthdates,

telephone numbers, Social Security numbers, employer names, and guarantor names, as well as

protected health information, was removed from the computer network of Defendants beginning

in or about April 2014 (the “Data Breach”).




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           6.        Hackers first infiltrated Defendants’ computer network on or about April 2014,

but Defendants did not confirm the Data Breach until July 2014, and failed, in violation of

HIPAA notification regulations and several state data breach notification statutes, to even begin

notifying Plaintiffs and the members of the proposed classes, defined below, of the breach until

August 2014.

           7.        As a result of Defendants’ failure to adequately monitor their highly touted

computer network, their use of a test server not intended to be connected to the Internet, and their

failure to patch their computer system after the Heartbleed Vulnerability, a software flaw, was

discovered, Plaintiffs’ highly sensitive confidential patient data was easily extracted by unknown

third parties.

           8.        This class action is brought by Plaintiffs to recover damages and to obtain

equitable relief. Plaintiffs assert common law claims for breach of contract, breach of implied

contract, unjust enrichment, negligence, negligence per se, bailment, and wantonness on behalf

of a National Class, or, alternatively, if a National Class is not certified, on behalf of Alternate

State Specific Classes, which are defined herein. Plaintiffs also assert federal statutory claims

for violation of the Fair Credit Reporting Act on behalf of a National Class. Additionally,

Plaintiffs assert claims under various state consumer protection and data breach notification

laws, on behalf of State Statutory Classes, which are defined herein.

           9.        Defendants had a contractual and legal duty to protect, and accepted payment in

exchange for their promise to protect, the private, highly sensitive, confidential patient data

belonging to Plaintiffs and the members of the proposed classes.

           10.       Plaintiffs and the members of the proposed classes paid money to receive

services from Defendants’ healthcare network. A portion of those monetary payments was made


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for the protection of confidential patient data in Defendants’ allegedly secure computer network.

Because Defendants failed to secure and protect Plaintiffs’ and class members’ confidential

patient data, Defendants’ retention of fees paid for that security and protection is unjust, and

represents an overpayment for which Plaintiffs and the members of the proposed classes should

be compensated. Such overpayment constitutes monetary damages and economic loss.

           11.    Plaintiffs and the members of the proposed classes have a possessory interest in

their confidential patient data and an interest in it remaining private because that information,

including such incredibly private and sensitive information as Social Security numbers, has

substantial value not only to Plaintiffs and the members of the proposed classes but to criminals

who traffic in such information.

           12.    Because of the overpayment for data security that was not provided, the intrinsic

value of the stolen information itself, the time and effort spent taking appropriate mitigating

measures to avoid and/or respond to identity theft in the wake of the Data Breach, and the certain

threat of immediate harm caused by the Data Breach, Plaintiffs and the members of the proposed

classes have suffered a cognizable financial injury and monetary damages. This injury is a direct

result of Defendants’ failure to safeguard the confidential patient data of the Plaintiffs and the

members of the proposed classes.

           13.    All Plaintiffs and members of the proposed classes have suffered monetary

damages and economic loss by overpaying for CHS-provided healthcare that was to include

appropriate data security, but ultimately did not include such security. Additionally, Plaintiffs

and members of the proposed classes were harmed by having their confidential patient data

misappropriated and made available to identity thieves. Many have suffered identity theft, fraud,

and abuse, due to having their confidential patient data sold on the Internet black market


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resulting in monetary damages and economic loss, including but not limited to: unauthorized

charges on bank and credit cards; fraudulently opened cards or accounts; emails hacked;

impersonation by hackers with government agencies, credit card companies, and retailers;

medical information stolen; cell phones and checking accounts hacked; fraudulent online

payments; compromised credit scores; and fraudulent tax returns filed. All are at an increased

and certain risk of becoming victims of identity theft crimes, fraud, and abuse due to having

confidential patient data sold on the Internet black market (which will result in the same

aforementioned monetary damages and economic loss), and all have been forced to spend

considerable time and money to investigate and mitigate the imminent risk of harm from identity

theft, fraud, and abuse as a result of Defendants’ conduct, including, but not limited to: detecting

and preventing identity theft and unauthorized use of financial and/or medical information;

monitoring accounts for fraudulent charges; canceling and obtaining reissued credit cards;

dealing with the IRS and other government agencies; purchasing credit monitoring and identity

theft protection services and insurance.

                                           THE PARTIES

           14.    Plaintiff Kathy Ellzey (“Plaintiff Ellzey”), a resident of Hokes Bluff, Alabama,

was treated at Gadsden Regional Hospital, a CHS facility, in April and August 2014. As part of

the patient-admission process, Plaintiff Ellzey was required to provide CHS with her confidential

patient data, which CHS promised would be protected in accordance with industry standards and

as mandated by law.       Plaintiff Ellzey’s confidential patient data was misappropriated and

exposed to identity thieves in and as a result of the CHS data breach and she suffered cognizable

injury thereby.    Since the data breach at CHS, Plaintiff Ellzey has experienced unauthorized

charges placed on her credit card, and has spent approximately 30 hours addressing the theft of


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her identity and has expended her own funds to cover postage expenses related to the data

breach. Plaintiff Ellzey also believes that her email has been hacked. Plaintiff Ellzey has spent

at least $5.00 on postage fees in connection with ramifications of the data breach. Plaintiff

Ellzey faces an ongoing, imminent, certainly impending threat of future additional harm from

the theft of her confidential patient data, like all members of the proposed class.

           15.        Plaintiff Lynda Matus (“Plaintiff Matus”), a resident of Bon Secour, Alabama,

was treated at South Baldwin Regional Medical Center, a CHS facility, in June, 2012. As part of

the patient-admission process, Plaintiff Matus was required to provide CHS with her confidential

patient data, which CHS promised would be protected in accordance with industry standards and

as mandated by law. Plaintiff Matus’ confidential patient data was misappropriated and exposed

to identity thieves in and as a result of the CHS data breach and she suffered cognizable injury

thereby.         Since the data breach at CHS, Plaintiff Matus has experienced the unauthorized

opening of a charge card in her name, and has spent considerable time addressing issues with

that account. To protect her identity going forward, Ms. Matus added identity theft protection

through her bank, at a rate of $6.00 per month. Plaintiff Matus faces an ongoing, imminent,

certainly impending threat of future additional harm from the theft of her confidential patient

data, like all members of the proposed class.

           16.        Plaintiff Sandra Arevalo (“Plaintiff Arevalo”), a resident of Rogers, Arkansas,

was treated at a CHS-affiliated hospital, Northwest Medical Center, between 2003 and the

present. As part of the patient-admission process, Plaintiff Arevalo was required to provide CHS

with her confidential patient data, which CHS promised would be protected in accordance with

industry standards and as mandated by law. Plaintiff Arevalo’s confidential patient data was

misappropriated and exposed to identity thieves in and as a result of the CHS data breach and she


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suffered cognizable injury thereby. Plaintiff Arevalo faces an ongoing, imminent, certainly

impending threat of future additional harm from the theft of her confidential patient data, like all

members of the proposed class.

           17.    Plaintiff Todd Glass (“Plaintiff Glass”), a resident of Rogers, Arkansas, was

treated at Northwest Medical Center in Springdale, Arkansas, a CHS-affiliated hospital, between

2005 and 2009. As part of the patient-admission process, Plaintiff Glass was required to provide

CHS with his confidential patient data, which CHS promised would be protected in accordance

with industry standards and as mandated by law. Plaintiff Glass’ confidential patient data was

misappropriated and exposed to identity thieves in and as a result of the CHS data breach and he

suffered cognizable injury thereby.      Plaintiff Glass faces an ongoing, imminent, certainly

impending threat of future additional harm from the theft of his confidential patient data, like all

members of the proposed class.

           18.    Plaintiff Denise Bubel (“Plaintiff Bubel”), a resident of Grovetown, Georgia,

was treated at Trinity Hospital of Augusta, Georgia, affiliated with CHS, in 2012.       As part of

the patient-admission process, Plaintiff Bubel was required to provide CHS with her confidential

patient data, which CHS promised would be protected in accordance with industry standards and

as mandated by law. Plaintiff Bubel’s confidential patient data was misappropriated and exposed

to identity thieves in and as a result of the CHS data breach and she suffered cognizable injury

thereby. After receiving notice of the CHS data breach, Plaintiff Bubel purchased Life-Lock

protection and after freezing her accounts to protect herself from identity theft, had to pay each

time she unlocked her accounts to conduct financial transactions. Plaintiff Bubel faces an

ongoing, imminent, certainly impending threat of future additional harm from the theft of her

confidential patient data, like all members of the proposed class.


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           19.    Plaintiff Vanessa Partridge (“Plaintiff Partridge”), a resident of San Pierre,

Indiana, was treated at Porter Hospital, affiliated with CHS, in 2006, 2008 and 2014. As part of

the patient-admission process, Plaintiff Partridge was required to provide CHS with her

confidential patient data, which CHS promised would be protected in accordance with industry

standards and as mandated by law.           Plaintiff Partridge’s confidential patient data was

misappropriated and exposed to identity thieves in and as a result of the CHS data breach and she

suffered cognizable injury thereby.     Plaintiff Partridge faces an ongoing, imminent, certainly

impending threat of future additional harm from the theft of her confidential patient data, like all

members of the proposed class.

           20.    Plaintiff Lanetta Page (“Plaintiff Page”), a resident of Mayfield, Kentucky, was

treated at a CHS-affiliated practice prior to the data breach. As part of the patient-admission

process, Plaintiff Page was required to provide CHS with her confidential patient data, which

CHS promised would be protected in accordance with industry standards and as mandated by

law. Plaintiff Page’s confidential patient data was misappropriated and exposed to identity

thieves in and as a result of the CHS data breach and she suffered cognizable injury thereby.

Plaintiff Page faces an ongoing, imminent, certainly impending threat of future additional harm

from the theft of her confidential patient data, like all members of the proposed class.

           21.    Plaintiff Alan Wingard (“Plaintiff Wingard”), a resident of Parnell, Missouri,

was treated at a CHS-affiliated hospital, North West Medical Center, in 2013. As part of the

patient-admission process, Plaintiff Wingard was required to provide CHS with his confidential

patient data, which CHS promised would be protected in accordance with industry standards and

as mandated by law. Plaintiff Wingard’s confidential patient data was misappropriated and

exposed to identity thieves in and as a result of the CHS data breach and he suffered cognizable


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injury thereby. Plaintiff Wingard faces an ongoing, imminent, certainly impending threat of

future additional harm from the theft of his confidential patient data, like all members of the

proposed class.

           22.    Plaintiff Robert Burns (“Plaintiff Burns”), a resident of Woolwich Township,

New Jersey, was treated at The Memorial Hospital of Salem County, NJ, affiliated with CHS,

during the period 2005 to 2012. As part of the patient-admission process, Plaintiff Burns was

required to provide CHS with his confidential patient data, which CHS promised would be

protected in accordance with industry standards and as mandated by law. Plaintiff Burns’

confidential patient data was misappropriated and exposed to identity thieves in and as a result of

the CHS data breach and he suffered cognizable injury thereby.           Plaintiff Burns faces an

ongoing, imminent, certainly impending threat of future additional harm from the theft of his

confidential patient data, like all members of the proposed class.

           23.    Plaintiff John Sanchez (“Plaintiff Sanchez”), a resident of Holman, New

Mexico, was treated at Alta Vista Regional Hospital, affiliated with CHS, in 2011 and 2012. As

part of the patient-admission process, Plaintiff Sanchez was required to provide CHS with his

confidential patient data, which CHS promised would be protected in accordance with industry

standards and as mandated by law.            Plaintiff Sanchez’ confidential patient data was

misappropriated and exposed to identity thieves in and as result of the CHS data breach and he

suffered cognizable injury thereby. Plaintiff Sanchez was prevented from filing his 2014 federal

tax returns, as someone else using Plaintiff Sanchez’ Social Security number had already filed a

2014 return in his name. Plaintiff Sanchez has paid his tax accounting firm, H&R Block, fees to

help him deal with the tax return situation. To address the problems he encountered filing his

2014 taxes, Plaintiff Sanchez has spent a significant amount of time trying to rectify the situation


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with H&R Block and the IRS, and by monitoring all of his accounts. Plaintiff Sanchez faces an

ongoing, imminent, certainly impending threat of future additional harm from the theft of his

confidential patient data, like all members of the proposed class.

           24.   Plaintiff Betty Fowler (“Plaintiff Fowler”), a resident of Tulsa, Oklahoma,

treated at a facility affiliated with CHS prior to the data breach. As part of the patient-admission

process, Plaintiff Fowler was required to provide CHS with her confidential patient data, which

CHS promised would be protected in accordance with industry standards and as mandated by

law. Plaintiff Fowler’s confidential patient data was misappropriated and exposed to identity

thieves in and as a result of the CHS data breach and she suffered cognizable injury thereby.

Plaintiff Fowler faces an ongoing, imminent, certainly impending threat of future additional

harm from the theft of her confidential patient data, like all members of the proposed class.

           25.   Plaintiff Karen Menke (“Plaintiff Menke”), a resident of Medford, Oregon, was

treated at the Venice Regional Hospital, affiliated with CHS, in 2013. As part of the patient-

admission process, Plaintiff Menke was required to provide CHS with her confidential patient

data, which CHS promised would be protected in accordance with industry standards and as

mandated by law. Plaintiff Menke’s confidential patient data was misappropriated and exposed

to identity thieves in and as a result of the CHS data breach and she suffered cognizable injury

thereby. Plaintiff Menke faces an ongoing, imminent, certainly impending threat of future

additional harm from the theft of her confidential patient data, like all members of the proposed

class.

           26.   Plaintiff Carolyn Pierce (“Plaintiff Pierce”), a resident of Chesterfield, South

Carolina, was treated at Chesterfield General Hospital, affiliated with CHS, during the period

2000 to 2014. As part of the patient-admission process, Plaintiff Pierce was required to provide


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CHS with her confidential patient data, which CHS promised would be protected in accordance

with industry standards and as mandated by law. Plaintiff Burns’ confidential patient data was

misappropriated and exposed to identity thieves in and as a result of the CHS data breach and she

suffered cognizable injury thereby.     Plaintiff Pierce faces an ongoing, imminent, certainly

impending threat of future additional harm from the theft of her confidential patient data, like all

members of the proposed class.

           27.   Plaintiff Tara June Moore (“Plaintiff Moore”), a resident of Murfreesboro,

Tennessee, was treated at CHS affiliated hospitals from 2000 to the present. As part of the

patient-admission process, Plaintiff Moore was required to provide CHS with her confidential

patient data, which CHS promised would be protected in accordance with industry standards and

as mandated by law.      Plaintiff Moore’s confidential patient data was misappropriated and

exposed to identity thieves in and as a result of the CHS data breach and she suffered cognizable

injury thereby. Since the CHS data breach, Plaintiff Moore has experienced the unauthorized use

of her bank account, unauthorized charges on her credit card, hacking of her personal email

account, the fraudulent opening of new financial accounts in her name, and the unauthorized use

of online payment services. To address these activities, Plaintiff Moore has spent significant

time dealing with the ramifications of the theft of her identity. Plaintiff Moore faces an ongoing,

imminent, certainly impending threat of future additional harm from the theft of her confidential

patient data, like all members of the proposed class.

           28.   Plaintiff Juan Mendoza (“Plaintiff Mendoza”), a resident of Cypress, Texas,

treated at a CHS facility prior to the time of the data breach. As part of the patient-admission

process, Plaintiff Mendoza was required to provide CHS with his confidential patient data, which

CHS promised would be protected in accordance with industry standards and as mandated by


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law. Plaintiff Mendoza’s confidential patient data was misappropriated and exposed to identity

thieves in and as a result of the CHS data breach and he suffered cognizable injury thereby.

After receiving notice of the data breach, Plaintiff Mendoza purchased a subscription with

LifeLock. Plaintiff Mendoza faces an ongoing, imminent, certainly impending threat of future

additional harm from the theft of his confidential patient data, like all members of the proposed

class.

           29.    Plaintiff Brandon Mitchem (“Plaintiff Mitchem”), a resident of Falls Mills,

Virginia, treated and continues to treat at Bluefield Internal Medicine, a CHS-affiliated medical

center, from 2008 to the present. As part of the patient-admission process, Plaintiff Mitchem was

required to provide CHS with his confidential patient data, which CHS promised would be

protected in accordance with industry standards and as mandated by law. Plaintiff Mitchem’s

confidential patient data was misappropriated and exposed to identity thieves in and as result of

the CHS data breach and he suffered cognizable injury thereby. Plaintiff Mitchem faces an

ongoing, imminent, certainly impending threat of future additional harm from the theft of his

confidential data, like all members of the proposed class.

           30.    Defendant Community Health Systems, Inc. is one of the nation’s leading

healthcare providers and touts itself as “one of the largest publicly-traded hospital companies in

the United States and a leading operator of general acute care hospitals in communities across

the country.”1     Through a network of affiliates, CHS owns or leases 199 hospitals in 29 states

with approximately 30,000 licensed beds, and provides outpatient and physician services through

a variety of facilities, including rehabilitation centers, urgent care centers, occupational medicine

clinics, imaging centers, cancer centers, ambulatory surgery centers, and home health and



1
    See CHS Form 10-K at 1 (for the year ending Dec. 31, 2014).
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hospice agencies.2 According to CHS, through the management and operation of its network of

affiliates, it is able to “provide standardization and centralization of operations across key

business areas.”3 CHS’s “standardization and centralization initiative” encompasses nearly every

aspect of its business, including “patient accounting and physician practice management.”4

           31.   CHS Chief Executive Officer and Chairman of the Board Wayne T. Smith wrote

in his 2014 Letter to Stockholders of CHS’s “work to develop regional healthcare networks” and

CHS’s appreciation for “the outstanding physicians and caring employees in these hospitals” and

“their active participation in our resolute commitment to deliver quality, compassionate, cost-

effective care as we form a stronger, combined organization.”5 CHS CEO Smith also described

CHS “deployed vast resources to improve clinical services and operational and financial

performance.”6 Further, CEO Smith wrote, “I am most proud of the quality care we provide for

patients” as he recounted CHS’s “relentless focus on reducing the inherent risks of health-care

delivery.”7 CHS CEO Smith also noted CHS’s creation of eleven regional healthcare networks

and CHS’s investment in freestanding emergency rooms, diagnostic clinics, surgery centers, and

multi-specialty group practices.8 “Our ability to effectively deliver outpatient services already is

evident in the hundreds of clinics, 63 ambulatory surgery centers, 41 urgent treatment centers,

and 130 home health agencies we currently operate.”9

           32.   CHS employs thousands of medical professionals. CHS CEO Smith wrote in his

Letter to Investors that “more than 3,300 physicians have chosen to be employed with our

2
  Id.
3
  Id.
4
  Id. at 4.
5
  2014 Annual Report to Stockholders, Community Health Systems, Inc., at 2.
6
  Id.
7
  Id.
8
  Id. at 3.
9
  Id.
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organization.”10 He additionally wrote, “Our employees are valued partners in the care of

millions of patients. We appreciate their skills and professionalism and see, daily, how their

kindness brings comfort to those who are sick or hurting.” CHS CEO also thanked CHS’s

“medical staffs and employees who dedicate themselves daily to the highest clinical and ethical

standards.”11

            33.   CHS is headquartered at 4000 Meridian Boulevard, Franklin, Tennessee 37067.

            34.   Defendant Community Health Systems Professional Services Corporation

provides management, consulting, and information technology services to hospitals and health

systems, as well as to certain clinics and physician practice operations.

            35.   Defendant CHSPSC operates as a subsidiary of Defendant CHS, Inc.

            36.   CHSPSC is headquartered at 4000 Meridian Boulevard, Franklin, Tennessee

37067.

                                 JURISDICTION AND VENUE

            37.   This Court has original jurisdiction over this action under the Class Action

Fairness Act (“CAFA”), 28 U.S.C. § 1332(d)(2).           The amount in controversy in this action

exceeds $5,000,000, exclusive of interest and costs, and there are more than 100 members of the

classes defined below, the majority of whom reside in different states than Defendants.

            38.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391, because Defendants

regularly transact business in this District, are found in this district, and a substantial part of the

events giving rise to this Complaint arose in this District.

           FACTUAL BACKGROUND: THE DATA BREACH LANDSCAPE AND CHS’S
                                  FAILURES



10
     Id.
11
     Id.
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           39.      The risks of data breaches in the healthcare industry have been known for a long

time. As the federal Government Accounting Office (“GAO”) noted in a 2005 report:

           Since its creation, the SSN has evolved beyond its original intended purpose.
           This is significant, because these numbers, along with a name and birth date, are
           the three pieces of information most often sought by identity thieves. Once an
           SSN is obtained fraudulently, it can then be used as “breeder” information to
           create additional false identification documents, such as driver’s licenses.12

           40.      In September of 2013, the Ponemon Institute issued a report entitled “2013

Report on Medical Identity Theft.” Among the findings of the report were the following:

           The number of medical identity theft victims increased. The number of new
           cases over the past year is estimated at 313,000. This estimated increase in the
           base rate of identity theft victims climbed from .0068 to .0082, which represents a
           19 percent increase over on year.

           Medical identity theft can put victims’ lives at risk. The individuals in this
           study understand what medical identity theft is and have had personal experience
           with this crime either directly or through an immediate family member. However,
           50 percent are not aware that medical identity theft can create inaccuracies in their
           permanent medical records.

           Most medical identity theft victims lose trust and confidence in their
           healthcare provider following the loss of their medical credentials. The most
           frequent medical consequence of a medical identity theft is that respondents lost
           trust and confidence in their healthcare provider (56 percent). This is an increase
           from 51 percent in last year’s study.13

           41.      In February of 2014, the SANS Institute issued a “Healthcare Cyberthreat

Report” in which it stated:

           Some 94 percent of medical institutions said their organizations have been victims
           of a cyberattack, according to the Ponemon Institute. Now, with the push to
           digitize all health care records, the emergence of HealthCare.gov and an
           outpouring of electronic protected health information (ePHI) being exchanged
           online, even more attack surfaces are being exposed in the healthcare field.



12
    U.S. GAO, Social Security Numbers: More Could Be Done to Protect SSNs, Report Number
GAO-06-586T (Mar. 30, 2006), available at http://www.gao.gov/assets/120/113277.html. All
websites were last visited on June 28, 2015 unless otherwise noted.
13
   Available at http://medidfraud.org/2013-survey-on-medical-identity-theft/.
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           A SANS examination of cyberthreat intelligence provided by Norse supports
           these statistics and conclusions, revealing exploited medical devices, conferencing
           systems, web servers, printers and edge security technologies all sending out
           malicious traffic from medical organizations. Some of these devices and
           applications were openly exploitable (such as default admin passwords_ for many
           months before the breached organization recognized or repaired the breach.

           The intelligence data that SANS examined for development of this report was
           specific to the health care sector and was collected between September 2012 and
           October 2013. The data analyzed was alarming. It not only confirmed how
           vulnerable the industry and become, it also revealed how far behind industry-
           related cybersecurity strategies and controls have fallen.14

           42.     The Federal Bureau of Investigation’s (“FBI”) CyberDivision issued a “Private

Industry Notification” on April 8, 2014, that cited the SANS report and Ponemon report and

concluded that “the health care industry is not technically prepared to combat against cyber

criminals’ basic cyber intrusion tactics, techniques and procedures (TTPs), much less against

more advanced persistent threats (APTs). The health care industry is not as resilient to cyber

intrusions compared to the financial and retail sectors, therefore the possibility of increased cyber

intrusions is likely.”15 The FBI stated further that:

           Health care security strategies and practices are poorly protected and ill-equipped
           to handle new cyber threats exposing patient medical records, billing and payment
           organizations, and intellectual property . . . The biggest vulnerability was the
           perception of IT healthcare professionals’ beliefs that their current perimeter
           defenses and compliance strategies were working when clearly the data states
           otherwise.16

           43.     Likewise, the California Attorney General issued a “Data Breach Report” in

October of 2014. It observed as follows:

           In the health care sector, breaches affected more records than in other industry
           sectors, with the exception of retain since the two mega breaches of 2013. Many
           of the health care breaches reported to us are of a type that could be prevented by

14
    Available at http://www.sans.org/reading-room/whitepapers/analyst/health-care-cyberthreat-
report-widespread-compromises-detected-compliance-nightmare-horizon-34735.
15
   Available at http://www.aha.org/content/14/140408--fbipin-healthsyscyberintrud.pdf.
16
   Id.
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           the strategic use of encryption. Unlike other industry sectors, where computer
           intrusions caused the majority of breaches, in healthcare 70 percent of breaches
           reported in the past two years were the result of stolen or lost hardware or digital
           media containing unencrypted personal information.

           A recent study by the Poneon Institute reports that criminal attacks targeting the
           health care system are growing and that employees’ use of unsecured portable
           devices is also increasing the risk of breach. The need to use encryption is a
           lesson that must be learned by the health care industry and we recommend that it
           be applied not only to laptops and portable media, but also to many computers in
           offices.

The report went on to note that on in three data breach victims in 2013 became identity

theft victims in that same year, an increase from one in four in 2012.17

           44.     By early 2014, computer breaches had become rampant in the healthcare

industry, a fact widely disseminate inside and outside the healthcare sector. For example:

     -     According to the Ponemon report, 63% of the healthcare organizations surveyed
           reported a data breach during the previous two years. The majority of these
           breaches resulted in the theft of data. In a March 2014 report, the institute stated
           that criminal attacks on healthcare companies have increased 100% since 2010.18

     -     An EMC2/RSA White Paper published in 2013 indicated that during the first half
           of 2013, more than two million healthcare records were compromised,
           constituting 31% of all reported data breaches.19

     -     According to the Identity Theft Resource Center, nearly half of all data breaches
           in 2014 took place in the healthcare sector, the largest single sector.20

     -     According to a recent analysis of data from the United State Department of Health
           & Human Services (“HHS”) by the Washington Post’s Wonkblog, the personal
           data of about 30.1 million people has been affected by 944 recorded “major”
           health data breaches (defined by HHS as one affecting at least 500 people) since




17
   Available at https://oag.ca.gov/sites/all/files/agweb/pdfs/privacy/2014data_breach_rpt.pdf.
18
   See supra note 13.
19
     Available at http://www.emc.com/collateral/white-papers/h12105-cybercrime-healthcare-
industry-rsa-wp.pdf.
20
   Identity Theft Resource Center, Identity Theft Resource Center Breach Report Hits Record
High      in     2014      (Jan.    12,      2015),     http://www.idtheftcenter.org/ITRC-Surveys-
Studies/2014databreaches.html.
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           federal reporting requirements under the 2009 economic stimulus package went
           into effect. This analysis did not include the CHS breach.21

           45.     Several other studies have shown the healthcare industry to be one of the most

affected by and least prepared to deal with hacking attempts. Despite the growing threat, the

healthcare industry has been slow to implement improved security measures –slower than other

industries handling sensitive information, such as the retail and financial sectors. For instance,

the typical healthcare entity allocates only about two or three percent of its operating budget to

its IT department, which retail and financial businesses devote more than 20 percent to IT.

According to an annual security assessment conducted by the Healthcare Information and

Management Systems Society, almost half of surveyed health systems said they spent three

percent or less of their IT budgets on security.22

           46.     Thus, CHS was well aware of the very real threat of cyber-attacks when, in

March 2014, the month before hackers infiltrated CHS and obtained the private information of

millions of Defendants’ patients, a Google researcher discovered the flaw that was then detected,

but inexplicably was not corrected, in CHS’s system, and led to a massive data extraction from

CHS’s computer network.23 Days later, security firm Codenomicon independently discovered

the same flaw.24




21
   Jason Millman, Health Care Data Breaches Have Hit 30M Patients and Counting, The Wash.
Post (Aug. 19, 2014), http://www.washingtonpost.com/blogs/wonkblog/wp/2014/08/19/health-
care-data-breaches-have-hit-30m-patients-and-counting/.
22
   See Healthcare Information and Management Systems Society, 6th Annual HIMSS Security
Study at 4 (Feb. 19, 2014), http://www.himss.org/files/2013_HIMSS_Security_Survey.pdf.
23
    Ben Grubb, Heartbleed disclosure timeline: who knew what and when, Sydney Morning
Herald (Apr. 15, 2014), http://www.smh.com.au/it-pro/security-it/heartbleed-disclosure-timeline-
who-knew-what-and-when-20140415-zqurk.html; Richard Neiva, Heartbleed bug: What you
need to know (FAQ), CNET (Apr. 11, 2014), http://www.cnet.com/news/heartbleed-bug-what-
you-need-to-know-faq/.
24
   Id.
494882.1                                         18
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           47.   The existence of this software flaw—called the Heartbleed Vulnerability—was

made public on April 7, 2014, and a simple patch to prevent hackers from using the vulnerability

to access systems such as CHS’s was issued the same day.25 The flaw and its fix were widely

publicized by national news shows, newspapers, online news organizations, and security industry

experts.26

           48.   But CHS heeded none of the warnings or fixes. CHS failed to patch its systems,

failed to change its security keys, and did not take even the simple step of changing system

passwords.

           49.   Three days later, Juniper Networks, the company that manufactured the test

server (“the Device”) that hackers ultimately used to obtain CHS user credentials, issued security

patches to fix the vulnerabilities that left the private data of Defendants’ patients open to

hackers.27 The cyber security community also published and widely distributed procedures that

companies were encouraged to follow in responding to Heartbleed. In fact, Codenomicon, the

security company that discovered Heartbleed, immediately created “heartbleed.com” to educate

the public about how to protect against the software flaw.28 Again, CHS failed to apply the



25
   Hello, my name is Heartbleed, ITToday,
http://www.ittoday.info/Articles/heartbleed_infographic.pdf.
26
   See, e.g., Steve Lohr, Heartbleed Security Flaw Emphasizes the Need to Change Passwords,
N.Y. Times (Apr. 8, 2014), http://bits.blogs.nytimes.com/2014/04/08/security-flaw-emphasizes-
the-need-to-change-passwords/; Heather Kelly, The ‘Heartbleed’ security flaw that affects most
of the Internet, CNN (Apr. 9, 2014), http://www.cnn.com/2014/04/08/tech/web/heartbleed-
openssl/; Danny Yardon, After Heartbleed Bug, a Race to Plug Internet Hole, WSJ (Apr. 9,
2014), http://www.wsj.com/articles/SB10001424052702303873604579491350251315132; What
you need to know about the Heartbleed bug, Fox News (Apr. 10, 2014),
http://www.foxnews.com/tech/2014/04/10/what-need-to-know-about-heartbleed-bug/.
27
   Morris Stemp, Failure to Perform Upgrades Caused Breach at Community Health Systems,
stempsystems (Sept. 9, 2014), http://stempsystems.com/failure-to-perform-upgrades-caused-
community-health-systems-breach/; The Heartbleed Bug, Heartbleed.com (last visited June 22,
2015).
28
   Neiva, supra.
494882.1                                       19
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patch, or any other fixes, continuing to leave CHS’s systems and the confidential data of its

patients vulnerable.

           50.   Plaintiffs and the members of the proposed classes were required to provide their

confidential patient data to Defendants in order to receive care. Plaintiffs and members of the

proposed classes paid for services provided by Defendants’ health care network, and part of that

payment was for the protection and security of their confidential patient data.

           51.   Defendants came into possession of the confidential patient data for 4.5 million

CHS patients, which was then accessed without Plaintiffs’ authorization, and which has been

used, or certainly will be used, to steal Plaintiffs’ identities and subject them to fraud and abuse.

           52.   CHS made it easy for hackers to steal the most private information of its

patients. According to David Kennedy, CEO at TrustedSec, immediate implementation of the

Heartbleed fix would have thwarted the Data Breach.29

           53.   Vincent Berk, the CEO of the data security company Flow/Traq, and a Ph.D. in

computer science, noted that competent and caring security professionals would have taken

immediate remediation steps.30 He also stated that CHS’s failure to patch its networks and

change security keys and passwords meant, “CHS didn't care or they're just not qualified.”31




29
   Danielle Walker, Community Health Systems attackers exploited Heartbleed bug for access,
firm says, SCMagazine (Aug. 20, 2014), http://www.scmagazine.com/community-health-
systems-attackers-exploited-heartbleed-bug-for-access-firm-says/article/367249/.
30
   Sara Peters, Heartbleed Not Only Reason For Health Systems Breach, Dark Reading (Aug. 20,
2014), http://www.darkreading.com/heartbleed-not-only-reason-for-health-systems-breach/d/d-
id/1298157.
31
   Id.
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           54.   Cyber security commentators have stated that the consequences of CHS’s

inaction were “utterly foreseeable” and “could have been easily anticipated and guarded

against.”32

           55.   Three months after the Heartbleed Vulnerability was announced, and simple

fixes were offered, in July 2014, CHS discovered the Data Breach that it had allowed to occur.

           56.   But CHS did not promptly notify its patients that their confidential patient data

had been taken. In fact, CHS waited until August 2014, the following month, to inform Plaintiffs

and the members of the proposed classes that hackers had stolen their confidential patient data.

           57.   Within days of CHS disclosing its Data Breach, experts reported that hackers

accessed the CHS network by exploiting the Heartbeat Vulnerability, an unsophisticated flaw in

the OpenSSL software library that is easily remedied.33 In fact, preventing access via Heartbleed

requires just two steps. First, a user and/or service provider must install and employ the updated

version of OpenSSL, released the same day the Heartbleed Vulnerability was publicly disclosed,

32
   Paula Knippa, What Healthcare Can Learn From CHS Data Breach, InformationWeek (Nov.
25, 2014), http://www.informationweek.com/healthcare/security-and-privacy/what-healthcare-
can-learn-from-chs-data-breach/a/d-id/1317696.
33
   OpenSSL software provides security and privacy for Internet communication occurring by
email, instant messaging, and virtual private networks (“VPN”). The Heartbleed Bug,
Heartbleed.com (last visited June 22, 2015). (A VPN is a network that uses public wires—in this
case the Internet—to connect a private network, such as the internal network of a company.) The
Heartbleed Vulnerability is a relatively crude coding error in the OpenSSL software. When two
servers exchange information, they send data back and forth to ensure each is still participating
in the transaction, known as heartbeats. This heartbeat exchange includes data of various sizes,
and Heartbleed allows a hacker to represent a data size of 64kb (the maximum allowed), which
triggers a response of 64kb of data to the hacker. But the return heartbeat to the hacker consists
of random bits of data off the server’s memory, which allows hackers to randomly compile large
amounts of information from a server’s memory. Once the information is compiled via the
Heartbleed Vulnerability, hackers use other technology to sift through the randomly stolen
information and identify, among other things, security keys, usernames, and passwords. See Eric
Limer, How Heartbleed Works: The Code Behind the Internet’s Security Nightmare, Gizmodo
(Apr. 9 , 2015), http://gizmodo.com/how-heartbleed-works-the-code-behind-the-internets-se-
1561341209; Neil J. Rubenking, Heartbleed: How It Works, SecurityWatch (Apr. 10, 2014),
http://securitywatch.pcmag.com/hacking/322533-heartbleed-how-it-works.
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to its servers.34 Second, the encryption keys and corporate passwords that may have been

compromised must be updated and changed to prevent hackers from impersonating users and/or

administrators through stolen credentials.35

           58.   But CHS did not take either of these rudimentary steps to protect its system, and

the Heartbleed Vulnerability allowed hackers to target the network flaw to steal user credentials

from the memory of a test server, the Device, manufactured by Juniper Networks.36 CHS’s use

of this test server further opened the door to the devastating Data Breach. Because the CHS

Device was a test server, it was never intended to be connected to the Internet.37 As such, the

security features and updates normally installed and relied on to secure sensitive data did not

exist on the Device.38 Some commentators have stated that by storing sensitive credentials on a

test server it was as if “CHS left the lights on and a note on the door, saying, ‘Hey, come on in.

The key is under the doormat!’”39

           59.   After the hackers stole user credentials, they used CHS’s VPN to gain remote

access to the CHS network.40 The stolen credentials allowed the hackers to freely navigate

CHS’s internal systems. The hackers then worked their way through CHS’s network until they

removed the 4.5 million customer records.41




34
   Nicole Perlroth, Experts Find a Door Ajar in an Internet Security Method Thought Safe, N.Y.
Times (Apr. 8, 2014); Hello, my name is Heartbleed, ITToday,
http://www.ittoday.info/Articles/heartbleed_infographic.pdf.
35
   Perlroth, supra.
36
   Stemp, supra.
37
   Knippa, supra.
38
   Id.
39
    Id.
40
     Davek, CHS Hacked via Heartbleed Vulnerability, TrustedSec (Aug. 19, 2014)
https://www.trustedsec.com/august-2014/chs-hacked-heartbleed-exclusive-trustedsec/.
41
   Id.
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           60.   CHS further set the stage for a massive data breach by failing to monitor its

network. Extracting 4.5 million customer records did not occur overnight and took some time to

achieve. The removal of such a large data set over a long period of time should have raised red

flags and the fact that it did not suggests that CHS failed to monitor whether data left its

network.42

           61.   Vincent Berk stated that CHS’s failure to monitor its outgoing network activity

was “downright embarrassing . . . Nobody was watching. Nobody was stopping it.”43 In addition

to CHS’s failure to monitor its outgoing network activity, the fact that CHS did not recognize

that a client in China44 was connecting to its VPN network with the credentials of an affiliated-

doctor who usually works from home in Alabama, suggests that CHS wasn’t even monitoring

incoming network activity.45

           62.   CHS’s failure to monitor its network activity may be more alarming than its

failure to properly respond to Heartbleed. Credentials can be stolen in a number of ways

separate from Heartbleed. For this reason, it is imperative that companies properly monitor their

systems and the behavior of their users. The banking industry has already done just that:

banks now routinely monitor for inconsistencies in customers’ purchasing activities.         For

example, if an expensive purchase is made at a point-of-sale machine in Italy, when the

legitimate customer is still buying groceries as usual at home in Alabama, the account may be

flagged and frozen.46




42
   Peters, supra.
43
   Id.
44
   In its 8-K and 10-K, CHS claimed the attack emanated from China.
45
   Pagliery, supra.
46
   Peters, supra.
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           63.   Lookingglass, a leading company in cyber intelligence management,

independently evaluated CHS’s computer network and confirmed that CHS’s systems were not

adequately protected. Lookingglass found that 10 CHS IP addresses were linked to “various bots

and blacklists” known for data exfiltration, banking credential theft, and more.47 According to

Lookingglass, multiple threat indicators were associated with the questionable IP addresses,

indicating they are gateways with multiple hosts behind them with a high likelihood that the

hosts can also access CHS’s VPN.48 Additionally, the Lookingglass assessment uncovered

active infections via Conficker, a virus discovered and patched in 2008, which suggests that

CHS’s systems have gone unpatched for years.49 Based on CHS’s abysmal security practices,

Lookingglass stated “[i]f an advance[d] nation-state [like China] penetrated [CHS’s] network,

they probably didn’t have to work very hard to gain a foothold.”50

           64.   CHS also failed to effectively segment its customer database.51          No single

hospital, affiliated-physician’s office, or care center had 4.5 million patient records. As such, the

stolen credentials allowed hackers to either maneuver across databases and remove records

wherever in CHS’s system they were located.            CHS improperly stored the records and

configured its network in such a way as to allow free roaming access to CHS network users.

           65.   On August 18, 2014, Defendant CHS, Inc. filed a Form 8-K with the United

States Securities and Exchange Commission (“SEC”) that provided the first notification of the

Data Breach. The filing stated:




47
   Jason Lewis, Looking Glass (Aug. 21, 2014), https://lgscout.com/where-there-are-breaches-
there-are-infections/.
48
   Id.
49
   Id.
50
   Id.
51
   Peters, supra.
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           In July 2014, Community Health Systems, Inc. (the “Company”) confirmed that
           its computer network was the target of an external, criminal cyber-attack that the
           Company believes occurred in April and June, 2014. The Company and its
           forensic expert, Mandiant (a FireEye Company), believe the attacker was an
           “Advanced Persistent Threat” group originating from China who used highly
           sophisticated malware and technology to attack the Company’s systems. The
           attacker was able to bypass the Company’s security measures and successfully
           copy and transfer certain data outside the Company. Since first learning of this
           attack, the Company has worked closely with federal law enforcement authorities
           in connection with their investigation and possible prosecution of those
           determined to be responsible for this attack. The Company also engaged
           Mandiant, who has conducted a thorough investigation of this incident and is
           advising the Company regarding remediation efforts. Immediately prior to the
           filing of this Report, the Company completed eradication of the malware from its
           systems and finalized the implementation of other remediation efforts that are
           designed to protect against future intrusions of this type. The Company has been
           informed by federal authorities and Mandiant that this intruder has typically
           sought valuable intellectual property, such as medical device and equipment
           development data. However, in this instance the data transferred was non-
           medical patient identification data related to the Company’s physician practice
           operations and affected approximately 4.5 million individuals who, in the last five
           years, were referred for or received services from physicians affiliated with the
           Company. The Company has confirmed that this data did not include patient
           credit card, medical or clinical information; the data is, however, considered
           protected under the Health Insurance Portability and Accountability Act
           (“HIPAA”) because it includes patient names, addresses, birthdates, telephone
           numbers and social security numbers. The Company is providing appropriate
           notification to affected patients and regulatory agencies as required by federal and
           state law. The Company will also be offering identity theft protection services to
           individuals affected by this attack. The Company carries cyber/privacy liability
           insurance to protect it against certain losses related to matters of this nature.
           While this matter may result in remediation expenses, regulatory inquiries,
           litigation and other liabilities, at this time, the Company does not believe this
           incident will have a material adverse effect on its business or financial results.52

           66.     On August 19, 2014, Defendant CHSPSC published a “Data Breach

Notification” on their public website. The Notification stated:

           On behalf of Community Health Systems Professional Services Corporation
           (“CHSPSC”), I want to express sincere regret to the patients of affiliated
           physician practices and clinics whose data was accessed in a foreign-based cyber-
           attack of our computer network. We value the trust you have placed in us for

52
    Defendants’ August 18, 2014, SEC filing is available at http://www.chs.net/investor-
relations/sec-fillings/.
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           your care and it is our priority to ensure those who were affected by this attack are
           notified about the breach and have their questions answered. If you were affected
           by the data breach, you will receive a letter with more information and a toll-free
           number to call to learn about the free identity theft protection offered to affected
           patients. The following notice contains more details about the breach, measures
           we are taking to notify you, and how we are improving the way we protect health
           your information [sic].

           In July 2014, Community Health Systems Professional Services Corporation
           (“CHSPSC”) confirmed its computer network was the target of an external
           criminal cyber-attack in April and June 2014. CHSPSC, a Tennessee company,
           provides management, consulting, and information technology services to certain
           clinics and hospital-based physicians in this area.

           CHSPSC believes the attacker was an “Advanced Persistent Threat” group
           originating from China, which used highly sophisticated malware technology to
           attack CHSPSC’s systems. The intruder was able to bypass the company’s
           security measures and successfully copy and transfer some data existing on
           CHSPSC’s systems.

           Since first discovering the attack, CHSPSC has worked closely with federal law
           enforcement authorities in connection with their investigation of the matter.
           CHSPSC also engaged an outside forensic expert to conduct a thorough
           investigation and remediation of this incident.      CHSPSC has implemented
           efforts designed to protect against future intrusions.    These efforts include
           implementing additional audit and surveillance technology to detect unauthorized
           intrusions, adopting advanced encryption technologies, and requiring users to
           change their access passwords.

           The majority of patients of clinics and hospital-based physicians affiliated with
           CHSPSC were not affected by this breach. Individuals whose information was
           taken in this cyber-attack will be mailed a letter informing them about the data
           breach and how to enroll in free identity theft protection and credit monitoring
           services. The data taken includes patients’ names, addresses, birthdates, social
           security numbers, and, in some cases, telephone numbers, and the names of
           employers or guarantors. However, to the best of CHSPSC’s knowledge, NO
           credit card information was taken and NO medical or clinical information was
           taken. CHSPSC recommends that you remain vigilant for incidents of fraud and
           identity theft by reviewing your credit report and accounts for unauthorized
           activity.

           Anyone with questions or concerns about this cyber-attack may contact 1-855-
           205-6951 toll-free beginning Wednesday, August 20, 2014, at 8:00 a.m. central
           time. For information on preventing identity theft or to report suspicious activity,




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           contact the Federal Trade Commission at 1-877-438-4338 or get free information
           at www.ftc.gov.53

           67.     As noted above, Defendants did not send Plaintiffs correspondence notifying

them of the Data Breach until August 29, 2014.

           68.    All Plaintiffs and members of the proposed classes have suffered monetary

damages and economic loss by overpaying for CHS-provided health care that was to include

appropriate data security, but ultimately did not include such security. Additionally, Plaintiffs

and members of the proposed classes were harmed by having their confidential patient data

misappropriated and made available to identity thieves. Many have suffered identity theft, fraud,

and abuse, due to having their confidential patient data sold on the Internet black market

resulting in monetary damages and economic loss, including but not limited to: unauthorized

charges on bank and credit cards; fraudulently opened cards or accounts; emails hacked;

impersonation by hackers with government agencies, credit card companies, and retailers;

medical information stolen; cell phones and checking accounts hacked; fraudulent online

payments; compromised credit scores; and fraudulent tax returns filed. All are at an increased

and certain risk of becoming victims of identity theft crimes, fraud, and abuse due to having

confidential patient data sold on the Internet black market (which will result in the same

aforementioned monetary damages and economic loss), and all have been forced to spend

considerable time and money to investigate and mitigate the imminent risk of harm from identity

theft, fraud, and abuse as a result of Defendants’ conduct, including, but not limited to: detecting

and preventing identity theft and unauthorized use of financial and/or medical information;



53
   Defendants’ August 19, 2014, Data Breach Notification was originally posted to
http://www.chs.net/ media-notice-august-19-2014/. The page has been taken down, but an
archived version is available at
https://web.archive.org/web/20140823062745/http://www.chs.net/media-notice-august-19-2014.
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monitoring accounts for fraudulent charges; canceling and obtaining reissued credit cards;

dealing with the IRS and other government agencies; purchasing credit monitoring and identity

theft protection services and insurance.

           LEGAL BACKGROUND: REQUIREMENTS FOR DATA PRIVACY AND CHS’S
                            PROMISES TO PLAINTIFFS

           69.   The confidential patient data that was copied and transferred from Defendants’

computer systems is considered protected “patient identification data” under the Health

Insurance Portability and Accountability Act of 1996 (“HIPAA”), 29 U.S.C.A. §§ 1181 et seq.

because it includes patient names, addresses, birthdates, telephone numbers and Social Security

numbers.

           70.   HIPAA required Defendants to “reasonably protect” the copied data from “any

intentional or unintentional use or disclosure.”     45 C.F.R. § 164.530(c)(1)(2)(i).    Federal

regulations also required Defendants to “have in place appropriate administrative, technical, and

physical safeguards to protect the privacy of protected health information.”              Id. at

§ 164.530(c)(1).

           71.   Defendants violated HIPAA by failing to maintain the confidentiality of

Plaintiffs’ and the proposed class members’ protected patient identification data.

           72.   Defendants failed to safeguard and prevent vulnerabilities from being taken

advantage of in their computer systems.

           73.   As a result of Defendants’ failure to safeguard and prevent vulnerabilities from

being taken advantage of in their computer systems, unauthorized third parties were able to

bypass Defendants’ inadequate security measures and successfully copy and transfer the

confidential patient data of Plaintiffs and the members of the proposed classes.




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           74.    The 2013 Identity Fraud Report released by Javelin Strategy & Research reports

that in 2012 identity fraud incidents increased by more than one million victims and hackers

stole nearly $21 billion. The study found 12.6 million victims of identity fraud in the United

States in the past year, which equates to 1 victim every 3 seconds. The report also found that

nearly 1 in 4 data breach letter recipients became a victim of identity fraud, with breaches

involving Social Security numbers to be the most damaging.

           75.    To assist companies in protecting the security of sensitive personal and financial

information, the Federal Trade Commission (“FTC”) has issued a publication entitled

“Protecting Personal Information: A Guide for Business” (the “FTC Report”).                 In this

publication, the FTC provides guidelines for businesses on how to develop a “sound data

security plan” to protect against crimes of identity theft.

           76.   To protect the personal sensitive information in their files, the FTC Report

instructs businesses to follow the following guidelines:

                 a)     Keep inventory of all computers and laptops where the company stores

                        sensitive data;

                 b)     Do not collect personal information if there is no legitimate business need.

                        If there is a legitimate business need, only keep the information as long as

                        necessary;

                 c)     Use Social Security numbers only for required and lawful purposes and do

                        not store these numbers unnecessarily, such as for an employee or

                        customer identification number;




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                 d)     Encrypt the personal information, particularly if the sensitive information

                        is shipped to outside carriers or contractors. In addition, the business

                        should keep an inventory of all the information it ships;

                 e)     Do not store sensitive computer data on any computer with an Internet

                        connection or access unless it is essential for conducting the business;

                 f)     Control access to sensitive information by requiring that employees use

                        “strong” passwords; and

                 g)     Implement information disposal practices that are reasonable and

                        appropriate to prevent unauthorized access to personally identifying

                        information.

           77.    Defendants violated federal guidelines and failed to meet current data security

industry standards by failing to ensure adequate security over Plaintiffs’ and the proposed class

members’ confidential patient data and by failing to retain Plaintiffs’ and the proposed class

members’ confidential patient data in a secure and safe manner.

           78.    By way of illustration and without limitation, on information and belief,

Defendants failed to properly encrypt data, failed to establish adequate firewalls to handle a

server intrusion contingency, and failed to implement adequate authentication protocol to protect

the confidential information contained in its computer network.

           79.    On information and belief, the Data Breach also resulted from Defendants’

pattern of un-patched systems and inadequate vulnerability management.

           80.    Defendants have assumed the duty to protect the confidential patient data of

Plaintiffs and the members of the proposed classes.




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           81.      Through its Notice of Privacy Practices (which is communicated to all patients),

CHS represented that it would protect its patients’ confidential patient data and keep it

confidential. For instance, the Notice of Privacy Practices states in relevant part:

           “We understand that medical information about you and your health care is
           personal. We are committed to protecting medical information about you. A
           record is created of the care and services you receive at this facility. This record
           is needed to provide the necessary care and to comply with legal requirements.”54
           *                      *                     *                        *

           “This notice applies to all of the records of your care generated by the facility . . .
           This notice will tell about the ways in which the facility may use and disclose
           medical information about you. Also described are your rights and certain
           obligations we have regarding the use and disclosure of medical information. The
           law requires the facility to: [m]ake sure that medical information that identifies
           you is kept private; [i]nform you of our legal duties and privacy practices with
           respect to medical information about you; and [f]ollow the terms of the notice that
           is currently in effect . . . . “55

           82.      Similarly, Defendants have published a “Code of Conduct,” which contains a

“Statement of Beliefs,” which provides, in relevant part, as follows: “We have adopted the

following Statement of Beliefs that summarizes the commitments of the organization’s

constituents to our patients, colleagues, physicians, and the communities served . . . [W]e are

dedicated to compliance with all federal, state, and local laws, rules, and regulations, including

privacy and security of patient health information.”56

           83.      Further, the provisions of Defendants’ Code of Conduct concerning the

“Confidentiality of Patient Information” provide that:

           When a patient enters a CHS affiliated facility, a large amount of personal,
           medical, and insurance data is collected and used to satisfy information needs
           including the ability to make decisions about a patient’s care. We consider

54
    See Community Health’s Notice of Privacy Practices, http://webapps.chs.net/HIPPA/(last
visited Aug. 26, 2014)
55
   Id.
56
     http://www.chs.net/wp-content/uploads/PDF/2014%20Code%20of%20Conduct.pdf        (last
visited June 16, 2015)
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           patient information highly confidential. Colleagues are expected to take care to
           protect the privacy of individually identifiable health information at all times. All
           of the facilities within the organization have specific policies describing patient
           confidentiality and release of information rules that conform to federal, state, and
           local laws governing the release or disclosure of health information.57

           84.      Moreover, through their affiliates, Defendants have published patient resources

regarding “Patient Rights & Responsibilities” and “HIPAA Compliance.” By way of example,

on its public website, Brandywine Hospital, one of Defendants’ affiliated hospitals, assures

patients, such as Plaintiffs and the members of the proposed classes, that they have the right to

“[p]ersonal privacy” and “privacy of your health information.”58

           85.      Brandywine Hospital further assures patients, such as Plaintiffs and the members

of the proposed classes, of its “Pledge Regarding Medical Information,” stating that “[w]e

understand that medical information about you and your health care is personal.                We are

committed to protecting medical information about you.”59

           86.      A portion of the consideration paid for health care by Plaintiffs and the members

of the proposed classes was accepted by Defendants and was allocated to protecting and securing

Plaintiffs’ and the proposed class members’ confidential patient data and ensuring HIPAA

compliance. This allocation was made for the purpose of offering patients and consumers, such

as Plaintiffs and the members of the proposed classes, added value to the healthcare services

provided.




57
   Id. at 10 (emphasis added).
58
   See http://www.brandywine
hospital.com/brandywinehospital/patientrightsandresponsibilities.aspx (last accessed June 16,
2015).
59
   https://web.archive.org/web/20140428095159/http://www.brandywinehospital.com/Brandywin
e-Hospital/hipaa1.aspx (last visited June 25, 2016)

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                                CLASS ACTION ALLEGATIONS

     A. The National Class

           87.    Pursuant to Fed. R. Civ. P. 23, Plaintiffs assert their common law claims for

breach of contract (Count I), breach of implied contract               (Count II), unjust enrichment

(Count III), negligence (Count IV), negligence per se (Count V), bailment (Count VI),

wantonness (Count XI) and their federal statutory claims under the Fair Credit

Reporting Act (Counts VII and VIII), on behalf of a nationwide class, defined as follows:

                 All persons in the United States whose patient data was contained
                 in or on Defendants’ computer network and whose patient data was
                 misappropriated as a result of the breach of Defendants’ computer
                 network, as announced by Defendants on or about August 18, 2014
                 (“National Class”).

           88.    As alleged herein, Defendants are headquartered in Tennessee, maintain

their primary data center in T e n n e s s e e , a n d the employees charged with making decisions

concerning data security are based in Tennessee. Defendants’ conduct resulting in the Data

Breach took place exclusively, or primarily, in Tennessee. Defendants, being headquartered in

Tennessee, would reasonably expect to be bound by the common law of Tennessee. And finally,

the injuries resulting from the data breach arose exclusively, or primarily, in Tennessee, where

the information was misappropriated. Accordingly, applying Tennessee law to the common law

claims of the National Class is appropriate.

     B. The Alternate State Specific Classes

           89.    Pursuant to Fed. R. Civ. P. 23, and in the alternative to the common law claims

asserted on behalf of the National Class, Plaintiffs assert their common claims for breach of

contract (Count I ) , b r e a c h o f i m p l i e d c o n t r a c t ( Count II), unjust enrichment (Count

I I I), negligence (Count IV), negligence per se (Count V), bailment (Count VI),


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and want onness (Count XI) under the laws of the individual states where Defendants

maintained treatment facilities, and on behalf of separate statewide classes, defined as follows:

                 All individuals who received treatment at a facility of
                 Defendants in [name of State] whose patient data was
                 contained in or on Defendants’ computer network and whose
                 patient data was misappropriated as a result of the breach of
                 Defendants’ computer network, as announced by Defendants on or
                 about August 18, 2014 (“Alternate State Specific Classes”).

     C. State Statutory Classes

           90.    Pursuant to Fed. R. Civ. P. 23, Plaintiffs assert their claims that De fe nd a n ts

violated state consumer protection statutes (Count IX) and state data breach notification

laws (Count X) on behalf of separate statewide classes, defined as follows:

                 All residents of [name of State] whose patient data was contained in or on
                 Defendants’ computer network and whose patient data was misappropriated as
                 a result of the breach of Defendants’ computer network, as announced by
                 Defendants on or about August 18, 2014 (“State Statutory Classes”).
           91.    Plaintiffs assert the state consumer protection law claims (Count IX) under

the listed consumer protection laws of: Arkansas, Indiana, Kentucky, New Mexico, Oklahoma,

Oregon, Missouri, New Jersey, and Texas.

           92.    Plaintiffs assert the state data breach notification law claims (Count X) on

behalf of separate statewide classes in and under the respective data breach statutes of the

States of: Georgia, Kentucky, New Jersey, Oregon, South Carolina, Tennessee, and Virginia.

     D. The Classes Meet the Criteria of Rule 23

           93.   Plaintiffs are members of the classes they seek to represent.

           94.   Excluded from each of the above classes are Defendants and their parents or

subsidiaries, any entities in which they have a controlling interest, as well as their officers,

directors, affiliates, legal representatives, heirs, predecessors, successors, and assigns. Also

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excluded are any Judge to whom this case is assigned as well as his or her judicial staff and

immediate family members.

           95.    Each of the proposed classes meets the criteria for certification under Fed. R.

Civ. P. 23(a), (b)(2), and (b)(3).

           96.    Numerosity.        The classes are so numerous that joinder of all members is

impracticable, as approximately four and one-half (4.5) million individuals’ confidential patient

data has been compromised.

           97.    Commonality. There are questions of law and fact common to all members of

the classes, the answers to which will advance the resolution of the claims of the class members

and that include, without limitation:

                 (i)     Whether Defendants failed to provide adequate security and/or protection

                 for their computer systems containing Plaintiffs’ and the proposed class members’

                 confidential patient data;

                 (ii)    Whether Defendants owed a legal and/or contractual duty to Plaintiffs

                 and the proposed class members to protect their confidential patient data and

                 whether Defendants breached this duty;

                 (iii)   Whether the conduct of Defendants resulted in the unauthorized breach

                 of their computer systems containing Plaintiffs’ and the proposed class members’

                 confidential patient data;

                 (iv)    Whether Plaintiffs and the proposed class members have been injured by

                 Defendants’ conduct;




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                  (v)      Whether Plaintiffs and class members are at an increased risk of identity

                  theft as a result of Defendants’ failure to protect Plaintiffs’ and the proposed class

                  members’ confidential patient data;

                  (vi)     Whether Defendants were negligent;

                  (vii)    Whether Defendants breached their contract with Plaintiffs and the

                  proposed class members;

                  (viii)   Whether Plaintiffs and the proposed class members are entitled to

                  injunctive relief; and

                  (ix)     Whether Plaintiffs and the proposed class members are entitled to

                  damages, and the measure of such damages.

           98.      Typicality. Plaintiffs’ claims are typical of the claims of all members of the

classes. Specifically, Plaintiffs’ and class members’ claims arise from Defendants’ failure to

install and maintain reasonable security measures, to implement appropriate policies, and to

protect Plaintiffs’ and class members’ confidential patient data.

           99.     Adequacy. Plaintiffs are adequate representatives of the proposed classes

because their interests do not conflict with the interests of the class members they seek to

represent. Plaintiffs’ counsel are very experienced in litigating consumer class actions and

complex commercial disputes, and include lawyers who have litigated other similarly massive

data breach cases.

           100.    Superiority. A class action is superior to all other available methods of fairly

and efficiently adjudicating this dispute. The injury sustained by each class member, while

meaningful on an individual basis, is not of such magnitude that it is economically feasible to

prosecute individual actions against Defendants. Even if it were economically feasible,


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requiring millions of injured plaintiffs to file individual suits would impose a crushing

burden on the court system and almost certainly lead to inconsistent judgments. By

contrast, class treatment will present far fewer management difficulties and provide the

benefits of a single adjudication, economies of scale, and comprehensive supervision by a

single court.

           101.    Predominance.      Common questions of law and fact predominate over

individualized questions. A class action is superior to all other available methods for the fair and

efficient adjudication of this controversy.

           102.    Prosecuting separate actions by individual class members would create a risk of

inconsistent or varying adjudications that would establish incompatible standards of conduct for

Defendants.

           103.    Class certification also is appropriate under Fed. R. Civ. P. 23(b)(2).

Defendants have acted or have refused to act on grounds generally applicable to the classes, so

that final injunctive relief or corresponding declaratory relief is appropriate as to the classes.

           104.    The members of the classes are individuals who were referred for or received

services from Defendants. As such, the members of the classes are readily ascertainable, as they

can be identified by records maintained by Defendants. Notice can be provided by means

permissible under Rule 23.

                                            COUNT I
                                    BREACH OF CONTRACT
             (On behalf of the National Class and the Alternate State Specific Classes)

           105.    Plaintiffs incorporate and re-allege each and every allegation contained above as

if fully set forth herein.

           106.    Plaintiffs and the proposed class members entered into contracts with


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Defendants for the provision of healthcare services. As a material term of such contracts,

Defendants promised to comply with the requirements of HIPAA and to act reasonably to protect

Plaintiffs and the proposed class members’ confidential patient data.

           107.   Plaintiffs and the proposed class members paid money to Defendants in

exchange for their promise to provide healthcare services, including compliance with HIPAA

and the industry standards for protecting confidential patient data.

           108.   In the contracts and in Defendants’ patients’ rights and privacy notices, the

Defendants promised to comply with HIPAA and its implementing regulations and only to

disclose Plaintiffs’ and the proposed class members’ patient identification information, which is

part of the confidential patient data taken in the Data Breach, when required to do so by federal

and/or state law, and to safeguard and protect Plaintiffs’ and the proposed class members’

confidential patient data from being compromised and/or stolen.

           109.   Plaintiffs and the proposed class members fully performed their obligations

under the contracts.

           110.   Defendants did not safeguard or protect Plaintiffs’ and the proposed class

members’ confidential patient data from being accessed, compromised, and/or stolen.

Defendants did not maintain sufficient security measures and procedures to prevent unauthorized

access to Plaintiffs’ and the proposed class members’ confidential patient data. Defendants did

not comply with HIPAA or the industry standards for the protection of confidential patient data.

           111.   Because Defendants failed to safeguard and/or protect Plaintiffs’ and the

proposed class members’ confidential patient data from being compromised or stolen, and failed

to comply with HIPAA and the industry standards for the protection of such information,

Defendants breached their contracts with Plaintiffs and the proposed class members.


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           112.    Defendants’ failure to fulfill their contractual obligation to protect confidential

patient data resulted in the Plaintiffs and the proposed class members receiving healthcare

services of less value than what was promised, i.e., healthcare services that included adequate

protection of confidential patient data. Accordingly, Plaintiffs and the proposed class members

did not receive the full benefit of their bargain.

           113.    Plaintiffs and the proposed class members have suffered and will continue to

suffer damages as the result of Defendants’ breach, including the monetary difference between

the amount paid for healthcare services as promised (which were promised to include adequate

and HIPAA-compliant data protection) and the healthcare services actually provided by

Defendants (which did not include adequate and/or HIPAA-compliant data protection).

                                            COUNT II
                              BREACH OF IMPLIED CONTRACT
             (On behalf of the National Class and the Alternate State Specific Classes)

           114.    Plaintiffs incorporate and re-allege each and every allegation contained above as

if fully set forth herein, except for the allegations in Count I (Breach of Contract), and bring this

count in the alternative to Count I to the extent that an express contract is found not to exist

between Defendants and Plaintiffs and the members of the proposed class.

           115.    As a necessary prerequisite to receiving healthcare treatment from Defendants,

Plaintiffs and the proposed members of the class provided confidential patient data to

Defendants.

           116.    Plaintiff and the proposed members of the class also disclosed such information

for the benefit of Defendants.

           117.    The provision of confidential patient data by Plaintiff and the proposed members

of the class, and Defendants’ acceptance of such information, created an implied contract


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whereby Defendant had a duty to safeguard and protect the information of Plaintiff and the

proposed members of the class, consistent with HIPAA and industry standards for confidential

patient data protection.

           118.   Defendants did not safeguard or protect Plaintiffs’ and the proposed class

members’ confidential patient data from being accessed, compromised, and/or stolen.

Defendants did not maintain sufficient security measures and procedures to prevent unauthorized

access to Plaintiffs’ and the proposed class members’ confidential patient data. Defendants did

not comply with HIPAA or the industry standards for the protection of confidential patient data.

           119.   Because Defendants failed to safeguard and/or protect Plaintiffs’ and the

proposed class members’ confidential patient data from being compromised or stolen, and failed

to comply with HIPAA and the industry standards for the protection of such information,

Defendants breached their implied contracts with Plaintiffs and the proposed class members.

           120.   Defendants’ failure to fulfill their implied contractual obligation to protect

confidential patient data resulted in the Plaintiffs and the proposed class members receiving

healthcare services of less value than what was promised, i.e., healthcare services that included

adequate protection of confidential patient data. Accordingly, Plaintiffs and the proposed class

members did not receive the full benefit of their bargain.

           121.   Plaintiffs and the proposed class members have suffered and will continue to

suffer damages as the result of Defendants’ breach, including the monetary difference between

the amount paid for healthcare services as promised (which were promised to include adequate

and HIPAA-compliant data protection) and the healthcare services actually provided by

Defendants (which did not include adequate and/or HIPAA-compliant data protection).

                                        COUNT III
                                   UNJUST ENRICHMENT

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             (On behalf of the National Class and the Alternate State Specific Classes)

           122.    Plaintiffs incorporate and re-allege each and every allegation contained above as

if fully set forth herein, except for the allegations in Count I (Breach of Contract) and Count II

(Breach of Implied Contract), and bring this count in the alternative to Count I and Count II to

the extent that neither an express or implied contract is found to exist between Defendants and

Plaintiffs and the members of the proposed class, in which case Plaintiffs and the members of the

proposed class will have exhausted all other remedies against Defendants.

           123.    Defendants received payment from Plaintiffs, the National Class and the

Alternate State Specific Classes to perform services that included protecting Plaintiffs’ and the

proposed class members’ confidential patient data.

           124.    Defendants did not protect Plaintiffs’ and the proposed class members’

confidential patient data, but retained Plaintiffs’ and the proposed class members’ payments.

           125.    Defendants retained the benefits of Plaintiffs’ and the proposed class members’

payments under circumstances which rendered it inequitable and unjust for Defendants to retain

such benefits without paying for their value.

           126.    Defendants have knowledge of said benefits.

           127.    Plaintiffs and the members of the National Class and the Alternate State Specific

Classes are entitled to recover damages in an amount to be proven at trial.

           128.    For reasons set forth in detail elsewhere herein, Tennessee common law applies

to the unjust enrichment claim of the National Class. However, if the National Class is not

certified, the unjust enrichment claims of the Alternate State Specific Classes would be governed

by the law of each state in which such state specific claims are brought.

                                           COUNT IV
                                          NEGLIGENCE

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             (On behalf of the National Class and the Alternate State Specific Classes)

           129.    Plaintiffs incorporate and re-allege each and every allegation contained above as

if fully set forth herein.

           130.    Defendants owed – and continue to owe – a duty to Plaintiffs, the National Class

and the Alternate State Specific Classes to use reasonable care in safeguarding confidential

patient data from being compromised, lost, stolen, misused, and/or disclosed to unauthorized

parties. This duty arises from several sources, including but not limited to the sources described

below, and is independent of any duty Defendants owed as a result of their contractual

obligations. This confidential patient data includes but is not limited to patient names, addresses,

birthdates, telephone numbers, Social Security numbers, and other personal information.

           131.    Defendants have a common law duty to prevent foreseeable risk of harm to

others, including Plaintiffs, the National Class and the Alternate State Specific Classes.

Defendants’ duty includes, among other things, designing, maintaining, and testing their security

systems to ensure that Plaintiffs’ and the proposed class members’ confidential patient data is

adequately secured and protected and to implement processes that will detect a breach of their

security systems in a timely manner.

           132.    As patients of Defendants’ healthcare network, Plaintiffs the members of the

proposed classes are part of a well-defined, foreseeable, finite and discernable group which was

well-known and identifiable to Defendants before their conduct caused the harm at issue.

           133.    It was foreseeable that Defendants’ failure to use reasonable measures to protect

confidential patient data and to provide timely notice of a breach of such data would result in

injury to Plaintiffs and the members of the proposed classes. Specifically, it was foreseeable that

the failure to adequately safeguard confidential patient data would result in one or more of the


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following injuries to Plaintiffs and the members of the proposed classes: 1) the ongoing,

imminent, certainly impending threat of identity theft crimes, fraud and abuse, resulting in

monetary loss and economic harm; 2) actual identity theft crimes, fraud and abuse, resulting in

monetary loss and economic harm; 3) the loss of the confidentiality of the compromised patient

data; 4) the illegal sale of the compromised patient data on the Internet black market; 5) expenses

for credit monitoring and identity theft insurance; 6) monetary damages in the form of

overpayment for services rendered; and 7) lost work time, and other economic and non-economic

harm.

           134.   Defendants assumed the duty to use reasonable security measures as a result of

their general conduct, internal policies and procedures, and their written Code of Conduct and

Statement of Beliefs, in which the Defendants state that they are “dedicated to compliance with

all federal, state and local laws, rules, and regulations, including privacy and security of

patient health information.” Defendants have indicated in their published Code of Conduct that

“We consider patient information highly confidential.” Through these statements, Defendants

specifically assumed the duty to comply with industry standards in protecting confidential patient

data.

           135.   Defendants’ duty to use reasonable security measures arose as a result of the

special relationship that existed between Defendants and the Plaintiffs and the members of the

proposed classes. The special relationship arose because Plaintiffs and the members of the

proposed classes entrusted Defendants with their confidential patient data, as part of the health

treatment process. Only Defendants were in a position to ensure that their systems were

sufficient to protect against the harm to Plaintiffs and the members of the proposed classes from

a data breach.


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           136.   Defendants’ duty to use reasonable security measures arose under HIPAA,

pursuant to which Defendants are required to “reasonably protect” confidential patient data from

“any intentional or unintentional use or disclosure” and to “have in place appropriate

administrative, technical, and physical safeguards to protect the privacy of protected health

information.” 45 C.F.R. § 164.530(c)(1). The confidential patient data at issue in this case

constitutes “protected health information” within the meaning of HIPAA.

           137.   Defendants’ duty to use reasonable security measures arose under Section 5 of

the Federal Trade Commission Act (“FTC Act”), 15 U.S.C. § 45, which prohibits “unfair . . .

practices in or affecting commerce,” including, as interpreted and enforced by the FTC, the

unfair practice of failing to use reasonable measures to protect confidential patient data by

healthcare providers like Defendants. The FTC publications and data security breach orders

described above further form the basis of Defendants’ duty. In addition, individual states have

enacted statutes based upon the FTC Act that also create a duty.

           138.   Defendants’ duty to use reasonable care in protecting confidential patient data

arose not only as a result of the common law and the statutes and regulations described above,

but also because they were bound by, and had committed to comply with, industry standards for

the protection of confidential patient data.

           139.   Defendants breached their common law, statutory and other duties - and thus

were negligent - by failing to use reasonable measures to protect their patients’ confidential data

from the hackers and by failing to provide timely notice of the breach. The specific negligent

acts and omissions committed by Defendants include, but are not limited to, the following:




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                  a.     failing to adopt, implement, and maintain adequate security measures to

                         safeguard Plaintiffs’ and proposed class members’ confidential patient

                         data;

                  b.     failing to adequately monitor the security of their networks;

                  c.     allowing unauthorized access to Plaintiffs’ and the proposed class

                         members’ confidential patient data;

                  d.     failing to recognize in a timely manner that Plaintiffs’ and proposed class

                         members’ confidential patient data had been compromised;

                  e.     failing to warn Plaintiffs and the members of the National Class and the

                         Alternate State Specific Classes in a timely manner that their confidential

                         patient data had been compromised;

           140.    In connection with the conduct described above, Defendants acted wantonly,

recklessly, and with complete disregard for the consequences.

           141.    As a direct and proximate result of Defendants’ negligence, the Plaintiffs, the

National Class and the Alternate State Specific Classes have suffered and continue to suffer

injury, including: 1) the ongoing, imminent, certainly impending threat of identity theft crimes,

fraud and abuse, resulting in monetary loss and economic harm; 2) actual identity theft crimes,

fraud and abuse, resulting in monetary loss and economic harm; 3) the loss of the confidentiality

of the compromised patient data; 4) the illegal sale of the compromised patient data on the

Internet black market; 5) expenses for credit monitoring and identity theft insurance; 6) monetary

damages in the form of overpayment for services rendered; and 7) lost work time, and other

economic and non-economic harm.




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           142.     For reasons set forth in detail elsewhere herein, Tennessee common law applies

to the negligence claim of the National Class. However, if the National Class is not certified, the

negligence claims of the Alternate State Specific Classes would be governed by the law of each

state in which such state specific claims are brought.

                                                 COUNT V
                                         NEGLINGENCE PER SE
                  (On behalf of the National Class and the Alternate State Specific Classes)

           143.     Plaintiffs incorporate and re-allege each and every allegation contained above as

if fully set forth herein

           144.     HIPAA was designed to protect the privacy of personal medical information by

limiting its disclosure. Specifically, under HIPAA, Defendants are required to “reasonably

protect” confidential patient data from “any intentional or unintentional use or disclosure” and to

“have in place appropriate administrative, technical, and physical safeguards to protect the

privacy of protected health information.” 45 C.F.R. § 164.530(c)(1).            Additionally, under

HIPAA, Defendants are obligated to provide notification of a breach of protected health

information. 45 C.F.R. §§ 164.404 and 164.410. The confidential patient data at issue in this

case constitutes “protected health information” within the meaning of HIPAA.

           145.     HIPAA seeks to protect the privacy of protected confidential patient data by

prohibiting any voluntary or involuntary use or disclosure of such data in violation of the

directives set out in the statute and its regulations, and requiring notification in all instances

when such data is breached.

           146.     Defendants are HIPAA-covered entities.




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           147.   As described above, Defendants violated HIPAA by failing to maintain the

confidentiality of their protected health information and to provide timely notification of the

breach of such data.

           148.   Defendants’ violation of HIPAA constitutes negligence per se.

           149.   The Plaintiffs, the members of the National Class and the Alternate State

Specific Classes, are part of the class of persons HIPAA was intended to protect as they are

current or former patients of Defendants’ healthcare network who provided protected health

information to Defendants.

           150.   Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45, prohibits

“unfair . . . practices in or affecting commerce” including, as interpreted and enforced by the

FTC, the unfair act or practice of business of failing to use reasonable measures to protect

confidential patient data.

           151.   Defendants violated Section 5 of the FTC Act (and similar state statutes,

commonly the “Little FTC Acts,” also known as state Unfair and Deceptive Trade Practices

Acts) ) by failing to use reasonable measures to protect confidential patient data and not

complying with applicable industry standards, including HIPAA, as described in detail

previously in this complaint. Defendants’ conduct was particularly unreasonable given the

nature and amount of confidential patient data it obtained and stored and the foreseeable

consequences of a data breach of such data.

           152.   Defendants’ duty to use reasonable security measures arose under Section 5 of

the Federal Trade Commission Act (“FTC Act”), 15 U.S.C. Sec. 45, which prohibits “unfair . . .

practices in or affecting commerce,” including, as interpreted and enforced by the FTC, the

unfair practice of failing to use reasonable measures to protect confidential patient data by


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healthcare providers like Defendants. The FTC publications and data security breach orders

described above further form the basis of Defendants’ duty. In addition, the individual states

have enacted statutes based upon the FTC Act that also create a duty.

           153.   Defendants violation of Section 5 of the FTC Act (and similar state statutes)

constitutes negligence per se.

           154.   The Plaintiffs, the National Class and the Alternative State Specific Classes

are p a r t o f the class of persons Section 5 of the FTC Act (and similar state statutes) was

intended to protect as they are consumers who purchased healthcare services from

Defendants.

           155.   Moreover, the harm that has occurred is the type of harm the FTC Act (and

similar state statutes) was intended to guard against. Indeed, the FTC has pursued over fifty

enforcement actions against businesses which, as a result of their failure to employ reasonable

data security measures and avoid unfair and deceptive practices, caused the same harm suffered

by the Plaintiffs and the members of the proposed classes.

           156.   As a direct and proximate result of Defendants’ negligence per se, the Plaintiffs,

and the members of the National Class and the Alternative State Specific Classes have suffered

and continue to suffer injury, including: ) the ongoing, imminent, certainly impending threat of

identity theft crimes, fraud and abuse, resulting in monetary loss and economic harm; 2) actual

identity theft crimes, fraud and abuse, resulting in monetary loss and economic harm; 3) the loss

of the confidentiality of the compromised patient data; 4) the illegal sale of the compromised

patient data on the Internet black market; 5) expenses for credit monitoring and identity theft

insurance; 6) monetary damages in the form of overpayment for services rendered; and 7) lost

work time, and other economic and non-economic harm.


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           157.    For reasons set forth in detail elsewhere herein, Tennessee common law applies

to the negligence per se claim of the National Class. However, if the National Class is not

certified, the negligence per se claims of the members of the Alternate State Specific Classes

would be governed by the law of each state in which such state specific claims are brought.

                                           COUNT VI
                                           BAILMENT
             (On behalf of the National Class and the Alternate State Specific Classes)

           158.    Plaintiffs incorporate and re-allege each and every allegation contained above as

if fully set forth herein.

           159.    Plaintiffs and the members of the National Class and the Alternate State Specific

Classes delivered their confidential patient data to Defendants in order to receive healthcare

services from Defendants’ healthcare network.

           160.    This confidential patient data was furnished to Defendants for the exclusive

purpose of administering and managing healthcare services delivered by Defendants’ healthcare

network, and Defendants took possession of the confidential patient data for the same reason.

           161.    Upon delivery, Plaintiffs and the members of the proposed classes intended and

understood that Defendants would adequately safeguard their confidential patient data, and

Defendants, in accepting possession, understood the expectations of Plaintiffs and the members

of the proposed classes. Accordingly, bailment was established for the mutual benefit of the

parties at the time of delivery and acceptance of possession.

           162.    Pursuant to the bailment arrangement, Defendants owed Plaintiffs and the

members of the proposed classes a duty of reasonable care in safeguarding and protecting their

confidential patient data.




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           163.   This duty was breached by Defendants’ failure to take adequate steps to protect

the confidential patient data entrusted to them and Defendants’ failure to conform to best

practices and industry standards to prevent unauthorized access to Plaintiffs’ and the proposed

class members’ confidential patient data.

           164.   As a direct and proximate result of Defendants’ failure to fulfill their obligations

under the bailment arrangement, the Plaintiffs and the members of the National Class and the

Alternative State Specific Classes have suffered and continue to suffer injury, including: 1) the

ongoing, imminent, certainly impending threat of identity theft crimes, fraud and abuse, resulting

in monetary loss and economic harm; 2) actual identity theft crimes, fraud and abuse, resulting in

monetary loss and economic harm; 3) the loss of the confidentiality of the compromised patient

data; 4) the illegal sale of the compromised patient data on the Internet black market; 5) expenses

for credit monitoring and identity theft insurance; 6) monetary damages in the form of

overpayment for services rendered; and 7) lost work time, and other economic and non-economic

harm.

           165.   For reasons set forth in detail elsewhere herein, Tennessee common law applies

to the bailment claim of the National Class. However, if the National Class is not certified, the

bailment claims of the alternative state specific classes would be governed by the law of each

state in which such state specific claims are brought.

                                    COUNT VII
              WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
                           (On behalf of the National Class)

           166.   Plaintiffs incorporate and re-allege each and every allegation contained above as

if fully set forth herein.




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           167.     The Fair Credit Reporting Act (“FCRA”) “require[s] consumer reporting

agencies [to] adopt reasonable procedures for meeting the needs of commerce for consumer

credit, personnel, insurance, and other information in a manner which is fair and equitable to the

consumer, with regard to the confidentiality, accuracy, relevancy, and proper utilization of such

information.” 15 U.S.C. § 1681(b).

           168.     The FCRA protects the disclosure of medical information and only allows

dissemination in a limited number of circumstances. See 15 U.S.C. § 1681a(d)(3); § 1681b(g); §

1681(a)(6).

           169.     Plaintiffs’ and the proposed class members’ confidential patient data constitutes

“medical information” for purposes of the FCRA.

           170.     Defendants are “consumer reporting agencies” because “for monetary fees, dues,

[and/]or on a cooperative nonprofit basis, [they] regularly engage[] in whole or in part in the

practice of assembling or evaluating consumer credit information or other information on

consumers for the purpose of furnishing consumer reports to third parties, and [] use . . .

interstate commerce for the purpose of preparing or furnishing consumer reports.” 15 U.S.C. §

1681a(f). Defendants are in the business of assembling personal and medical information about

Plaintiffs and other consumers and providing reports with this information to third parties.

           171.     Defendants’ collection of Plaintiffs’ and the proposed class members’

confidential patient data and subsequent transmission and communication of the same constitutes

a “consumer report” because the information collected “bear[s] on a consumer's credit

worthiness,       credit   standing,   credit   capacity,   character,   general   reputation,   personal

characteristics, or mode of living” and “is used or expected to be used or collected in whole or in

part for the purpose of serving as a factor in establishing the consumer's eligibility for credit or


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insurance to be used primarily for personal, family, or household purposes.” 15 U.S.C.

§ 1681a(d)(1).      Defendants collect personal, medical and financial information and prepare

reports of the same to extend credit for healthcare services, collect debt or determine eligibility

for insurance.

           172.   Defendants, as consumer reporting agencies, were required (and still are

required) to put in place and maintain procedures that would protect the confidential patient data

of Plaintiffs and the proposed members of the classes and limit its disclosure exclusively to those

situations outlined in the FCRA. Defendants failed to put in place and/or maintain the requisite

procedures and thereby caused Plaintiffs’ and the proposed class members’ information to be

disclosed in violation of the FCRA, directly resulting in the theft and wrongful dissemination of

that information.

           173.   Defendants’ violation was willful and/or reckless because Defendants were

aware of their obligations to protect the confidential patient data at issue and knew or acted in

reckless disregard of whether their conduct would result in the wrongful dissemination of that

information, resulting in a violation of the FCRA.

           174.   As a direct and proximate result of Defendants’ willful violation of the FCRA,

the Plaintiffs and the members of the National Class have suffered and continue to suffer injury,

including: 1) the ongoing, imminent, certainly impending threat of identity theft crimes, fraud

and abuse; 2) actual identity theft crimes, fraud and abuse, resulting in monetary loss and

economic harm; 3) the loss of the confidentiality of the compromised patient data; 4) the illegal

sale of the compromised patient data on the Internet black market; 5) expenses for credit

monitoring and identity theft insurance; 6) monetary damages in the form of overpayment for

services rendered; and 7) lost work time, and other economic and non-economic harm.


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           175.   Thus, Plaintiffs and the members of the National Class are entitled to statutory

damages, non-statutory damages in an amount to be proven at trial, and attorneys’ fees.

                                   COUNT VIII
            NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
                          (On behalf of the National Class)

           176.   Plaintiffs incorporate and re-allege each and every allegation contained above as

if fully set forth herein.

           177.   In the alternative to their claim for willful violation of the FCRA, Plaintiffs and

the members of the National Class allege that Defendants negligently violated the FCRA by

failing to adequately protect the confidential patient data of Plaintiffs and the members of the

National Class, to put in place and maintain procedures designed to protect Plaintiffs’ and the

proposed class members’ confidential patient data, and to limit their disclosure of such

information solely to the situations outlined in the FCRA.

           178.   As described above, this failure proximately caused the theft and wrongful

dissemination of the confidential patient data, in violation of the FCRA.

           179.   It was reasonably foreseeable that Defendants failure to put in place and

maintain procedures to protect and limit the disclosure of Plaintiffs’ and the proposed class

members’ confidential patient data would result in the theft, unlawful dissemination and/or

wrongful disclosure of the data, in violation of the FCRA.

           180.   Defendants’ violation of the FCRA was negligent.

           181.   As a direct and proximate result of Defendants’ negligent violation of the

FCRA, the Plaintiffs and the members of the National Class have suffered and continue to suffer

injury, including: 1) the ongoing, imminent, certainly impending threat of identity theft crimes,

fraud and abuse; 2) actual identity theft crimes, fraud and abuse, resulting in monetary loss and


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economic harm; 3) the loss of the confidentiality of the compromised patient data; 4) the illegal

sale of the compromised patient data on the Internet black market; 5) expenses for credit

monitoring and identity theft insurance; 6) monetary damages in the form of overpayment for

services rendered; and 7) lost work time, and other economic and non-economic harm.

           182.   Thus, Plaintiffs and the members of the National Class are entitled to statutory

damages, non-statutory damages in an amount to be proven at trial and attorneys’ fees.

                                            COUNT IX
                           VIOLATION OF STATE CONSUMER LAWS
                             (On behalf of the State Statutory Classes)

           183.   Plaintiffs incorporate and re-allege each and every allegation contained above as

if fully set out herein.

           184.   Plaintiffs and members of the State Statutory Classes are current or former

patients of Defendants who provided confidential patient data to Defendants as part of the

purchase of personal healthcare services from Defendants.

           185.   Defendants    engaged   in   the    conduct   alleged   in   this   Complaint   in

transactions intended to result, and which did result, in the sale of goods or services to

consumers, including Plaintiffs and members of the classes.

           186.   Defendants are engaged in, and its acts and omissions affect, trade and

commerce. Defendants’ acts, practices, and omissions were done in the course of Defendants’

business of marketing, offering for sale, and selling goods and services throughout the

United States.

           187.   Defendants’ conduct constitutes unfair methods of competition and unfair,

deceptive, fraudulent, unconscionable and/or unlawful acts or practices (collectively, “Unfair or

Deceptive Trade Practices”), including, among other things, Defendants’:


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                  a.    failure to maintain adequate computer systems and data security

                        practices to safeguard customers’ confidential patient data;

                  b.    failure to disclose that its computer systems and data security practices

                        were inadequate to safeguard customers’ confidential patient data from

                        theft;

                  c.    failure to timely and accurately disclose the data breach to Plaintiffs

                        and the members of the State Statutory Classes;

                  d.    continued acceptance of Plaintiffs’ and the State Statutory Class

                        members’ confidential patient data after Defendants knew or should

                        have known of the security vulnerabilities that were exploited in the data

                        breach; and

                  e.    continued acceptance of Plaintiffs’ and the State Statutory Class

                        members’ confidential patient data after Defendants knew or should

                        have known of the data breach.

           188.    By engaging in such Unfair or Deceptive Trade Practices, Defendants have

violated state consumer laws, including those that prohibit:

                  a.    representing that goods or services have sponsorship, approval,

                        characteristics, ingredients, uses, benefits, or quantities that they do not

                        have;

                  b.    representing that goods and services are of a particular standard,

                        quality or grade, if they are of another;

                  c.    omitting material facts regarding the goods and services sold;




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                  d.    engaging in any other conduct which similarly creates a likelihood of

                        confusion or of misunderstanding;

                  e.    unfair methods of competition;

                  f.    unfair, deceptive, unconscionable, fraudulent and/or unlawful acts or

                        practices; and/or

                  g.    similar prohibitions under the state consumer laws identified below.

           189.    As a direct and proximate result of Defendants violating state consumer

laws, Plaintiffs and the State Statutory Class members suffered one or more of the following

damages:

                  a.    the ongoing, imminent, certainly impending threat of identity theft crimes,

                        fraud and abuse, resulting in monetary loss and economic harm;

                  b.    actual identity theft crimes, fraud and abuse, resulting in monetary loss

                        and economic harm;

                  c.    the loss of the confidentiality of the compromised patient data;

                  d.    the illegal sale of the compromised patient data on the Internet black

                        market;

                  e.    expenses for credit monitoring and identity theft insurance;

                  f.    monetary damages in the form of overpayment for services rendered,

                        based on purchasing services from Defendants that they would not have

                        purchased, or would have not had paid the same price for, had they

                        known of Defendants’ Unfair or Deceptive Trade Practices; and

                  g.    lost work time, and other economic and non-economic harm.




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           190.    Defendants’ Unfair o r Deceptive Trade Practices violate the following state

consumer statutes:

                  a.    The Arkansas Deceptive Trade Practices Act, Ark. Code Ann. §§ 4-88-

                        107(a)(1)(10) and 4-88-108(1)(2), et seq.;

                  b.    The Indiana Deceptive Consumer Sales Act, Ind. Code §§ 24-5-0.5-3(a)

                        and (b)(1) and (2), et seq.;

                  c.    The Kentucky Consumer Protection Act, Ky. Rev. Stat. §§ 367.170(1)

                        and (2), et seq.;

                  d.    The Missouri Merchandising Practices Act, Mo. Ann. Stat. § 407.020(1),

                        et seq;

                  e.    The New Jersey Consumer Fraud Act, N.J. Stat. Ann. § 56:8-2, et seq.;

                  f.    The New Mexico Unfair Practices Act, N.M. Stat. Ann. §§ 57-12-

                        2(D)(5)(7) and (14) and 57-12-3, et seq.;

                  g.    The Oklahoma Consumer Protection Act, 15 Okl. Stat. Ann.

                        §§ 753(5), (7) and (20), et seq.;

                  h.    The       Oregon    Unfair     Trade   Practices   Act,    Or.   Rev.   Stat.

                        §§ 646.608(1)(e)(g) and (u), et seq.; and

                  i.    The Texas Deceptive Trade Practices Consumer Protection Act,

                        V.T.C.A., Bus. & C. §§ 17.46(a), (b)(5) and (7), et seq.

           191.    As a result of Defendants’ violations, Plaintiffs and members of the State

Statutory Classes are entitled to injunctive relief, including, but not limited to: (1) ordering that

Defendants engage third-party security auditors/penetration testers as well as internal security

personnel to conduct testing, including simulated attacks, penetration tests, and audits on


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Defendants’ systems on a periodic basis, and ordering Defendants to promptly correct any

problems or issues detected by such third-party security auditors; (2) ordering that Defendants

engage third-party security auditors and internal personnel to run automated security

monitoring; (3) ordering that Defendants audit, test, and train its security personnel regarding

any new or modified procedures; (4) ordering that Defendants segment patient data by, among

other things, creating firewalls and access controls so that if one area of Defendants’ network is

compromised, hackers cannot gain access to other portions of Defendants’ systems; (5)

ordering that Defendants purge, delete, and destroy in a reasonably secure manner customer

data not necessary for its provisions of services; (6) ordering that Defendants conduct

regular database scanning and securing checks; (7) ordering that Defendants routinely and

continually conduct internal training and education to inform internal security personnel how

to identify and contain a breach when it occurs and what to do in response to a breach;

and (8) ordering Defendants to meaningfully educate their patients about the threats they face

as a result of the loss of their financial and personal information to third parties, as well as the

steps Defendants’ patients must take to protect themselves.

           192.   Because of Defendants’ u n f a i r o r deceptive trade practices, Plaintiffs and the

me mbers of State Statutory Classes are entitled to relief, including restitution of the

costs associated with the data breach, disgorgement of all profits accruing to Defendants because

of its U n f a i r o r Deceptive Trade Practices, attorneys’ fees and costs, declaratory relief,

and a permanent injunction enjoining Defendants from its Unfair or Deceptive Trade

Practices.

           193.   Plaintiffs bring this claim on behalf of themselves and the members of the

State Statutory Classes for the relief requested and to benefit the public interest. This claim


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supports the public interests in assuring that consumers are provided truthful, non-deceptive

information about potential purchases of services and protecting members of the public from

Defendants’ U n f a i r o r Deceptive Trade Practices. Defendants’ u n f a i r a n d wrongful

conduct, including its U n f a i r o r Deceptive Trade Practices has affected the public at

large.

           194.   Before filing this Complaint, counsel for Plaintiffs and the members of the State

Statutory Classes provided Defendants with pre-suit demand letters in compliance with state

consumer law Tex. Bus. & Com. Code Ann. § 17.505(a). Additionally, Defendants have had

long notice of Plaintiffs’ allegations, claims, and demands based on the numerous class actions

related to this litigation.

           195.   Plaintiffs have provided or will provide notice of this action and a copy of

this Complaint to the appropriate Attorneys General.

                                       COUNT X
           VIOLATION OF STATE DATA BREACH NOTIFICATION STATUTES
                      (On behalf of the State Statutory Classes)
           196.   Plaintiffs incorporate and re-allege each and every allegation contained above as

if fully set forth herein.

           197.   Legislatures in the states and jurisdictions listed below have enacted data

breach statutes. These statutes generally apply to any person or business conducting

business within the state that owns or licenses computerized data containing personal

information. If the personal information is acquired or accessed in a way that compromises

its security or confidentiality, the covered entity must notify the affected individuals in the

most expedient time and manner possible and without unreasonable delay.




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           198.   The Defendants’ data breach constituted a security breach that triggered the

notice provisions of the data breach statutes and the confidential patient data taken includes

categories of personal information protected by the data breach statutes.

           199.   Defendants unreasonably delayed in informing Plaintiffs and members of the

State Statutory Classes about the data breach after Defendants knew or should have known

that the data breach had occurred.

           200.   Plaintiffs and State Statutory class members were damaged by Defendants’

failure to comply with the data breach statutes.

           201.   Had Defendants provided timely and accurate notice, Plaintiffs and the

members of the State Statutory classes could have avoided or mitigated the harm caused by

the data breach. For example, they could have contacted their banks to change account numbers,

taken security precautions in time to prevent or minimize identity theft, or contacted

governmental authorities.

           202.   Defendants’ failure to provide timely and accurate notice of the Defendants’

data breach violated the following state data breach statutes:

           a.          Ga. Code Ann. § 10-1-912(a), et seq.;

           b.          Ky. Rev. Stat. Ann. § 365.732(2), et seq.;

           c.          N.J. Stat. Ann. § 56:8-163(a), et seq.;

           d.          Or. Rev. Stat. Ann. § 646A.604(1), et seq.;

           e.          S.C. Code Ann. § 39-1-90(A), et seq.;

           f.          Tenn. Code Ann. § 47-18-2107(b), et seq.; and

           g.          Va. Code Ann. § 18.2-186.6(B), et seq.




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           203.    Plaintiffs and members of each of the State Statutory Classes seek all

remedies available under their respective state data breach statutes, including but not limited

to damages, equitable relief, including injunctive relief, treble damages, and reasonable

attorneys’ fees and costs, as provided by the applicable laws.

                                           COUNT XI
                                         WANTONNESS
             (On behalf of the National Class and the Alternate State Specific Classes)

           204.    Plaintiffs incorporate and re-allege each and every allegation as if fully set forth

herein.

           205.    Defendants knew, were substantially aware, should have known, or acted in

reckless disregard that Plaintiffs would be harmed if Defendants did not safeguard,

secure, protect, keep private, and not disclose Plaintiffs’ confidential patient data.

           206.    Defendants did not safeguard, secure, keep private, and/or protect and disclosed

to third-parties Plaintiffs’ and class members confidential patient data with a knowledge or

consciousness that the action or failure to act will likely or probably cause harm or, in the

alternative, with reckless indifference to the consequences.

           207.    As a direct and proximate result of Defendants’ conduct, the Plaintiffs and the

members of the National Class and the Alternative State Specific Classes have suffered and

continue to suffer injury, including: 1) the ongoing, imminent, certainly impending threat of

identity theft crimes, fraud and abuse, resulting in monetary loss and economic harm; 2) actual

identity theft crimes, fraud and abuse, resulting in monetary loss and economic harm; 3) the loss

of the confidentiality of the compromised patient data; 4) the illegal sale of the compromised

patient data on the Internet black market; 5) expenses for credit monitoring and identity theft




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insurance; 6) monetary damages in the form of overpayment for services rendered; and 7) lost

work time, and other economic and non-economic harm.

           208.    For reasons set forth in detail elsewhere herein, Tennessee common law applies

to the wantonness claim of the National Class. However, if the National Class is not certified, the

wantonness claims of the alternative state specific classes would be governed by the law of each

state in which such state specific claims are brought.

                                      PRAYER FOR RELIEF

           210.    Plaintiffs request that this Court enter judgment against Defendants and in favor

of Plaintiffs and the members of the proposed classes and award the following relief:

                  a)       That this action be certified as a class action pursuant to Rule 23 of the

                           Federal Rules of Civil Procedure, declaring Plaintiffs as the

                           representatives of the classes/subclasses defined herein and Plaintiffs’

                           counsel as counsel for such classes/subclasses;

                  b)       Monetary damages;

                  c)       Injunctive relief, including but not limited to the provision of credit

                           monitoring services for Plaintiffs and the members of the proposed

                           classes for a period of at least twenty-five (25) years, the provision of

                           bank monitoring services for Plaintiffs and the members of the proposed

                           classes for a period of at least twenty-five (25) years, the provision of

                           credit restoration services for Plaintiffs and the members of the proposed

                           classes for a period of at least twenty-five (25) years, and the provision

                           of identity theft insurance for Plaintiffs and the members of the proposed

                           classes for a period of at least twenty-five (25) years;


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               d)        Reasonable attorneys’ fees and expenses, including those related to

                         experts and consultants;

               e)        Costs;

               f)        Pre- and post-judgment interest;

               g)        Such other relief as this Court may deem just and proper.

                                         JURY DEMAND

     211.        Pursuant to Fed. R. Civ. P. 38(b), Plaintiffs, individually and on behalf of the

     classes they seek to represent, demand a trial by jury for all issues so triable.


Dated: July 24, 2015                       By: s/Clinton H. Scott
                                               Gilbert Russell McWherter Scott & Bobbit
                                               PLC
                                               Clint H. Scott #23008
                                               101 North Highland Avenue
                                               Jackson, TN 38301
                                               Telephone: (731) 664-1340
                                               Facsimile: (731) 664-1540

                                                 Friedman, Dazzio, Zulanas & Bowling, P.C.
                                                 Jeffrey E. Friedman
                                                 Christopher J. Zulanas
                                                 John Michael Bowling
                                                 3800 Corporate Woods Drive
                                                 Birmingham, AL 35242
                                                 jfriedman@friedman-lawyers.com
                                                 czulanas@friedman-lawyers.com
                                                 mbowling@friedman-lawyers.com

                                                 Lockridge Grindal Nauen P.L.L.P.
                                                 Karen Hanson Riebel
                                                 Kate M. Baxter-Kauf
                                                 100 Washington Ave. S.
                                                 Suite 2200
                                                 Minneapolis, MN 55113
                                                 khriebel@locklaw.com
                                                 kmbaxter-kauf@locklaw.com




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                                        Pittman, Dutton, Hellums, P.C.
                                        Christopher T. Hellums
                                        2001 Park Pl, #1100
                                        Birmingham, AL 35203
                                        chrish@pittmandutton.com

                                        Branch Law Firm
                                        Turner W. Branch
                                        Mary Lou Boelcke
                                        2025 Rio Grande Blvd NW
                                        Albuquerque, NM 87104
                                        tbranch@branchlawfirm.com
                                        mlboelcke@branchlawfirm.com

                                        Stewart & Stewart PC
                                        Donald W. Stewart
                                        Dylan Reeves
                                        1826 3rd Avenue North, Suite 300
                                        Bessemer, AL 35021
                                        donaldwstewart5354@yahoo.com
                                        dreeves@stewartandstewart.net




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